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IS

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 2:25-cr-20165
Assigned To : Edmunds, Nancy G.
United States of America, Referral Judge: Patti, Anthony P.
Assign. Date : 3/20/2025
Description: INDI USA V. WEISS

Plaintiff, (NA)
Violations:
Vv. 18 U.S.C. § 1030(a)(2)(c)
18 U.S.C. § 1030(c)(2)(B)(ii)

Matthew Weiss, 18 U.S.C. § 1028A(a)(1)

Defendant.

/
INDICTMENT

THE GRAND JURY CHARGES:

THE DEFENDANT’S SCHEME

l. Between approximately 2015 and January 2023, Matthew Weiss gained
access—without and in excess of authorization—to the social media, email, and/or
cloud storage accounts of more than 3,300 people.

2. Weiss primarily targeted female college athletes. He researched and targeted
these women based on their school affiliation, athletic history, and physical
characteristics. His goal was to obtain private photographs and videos never intended
to be shared beyond intimate partners.

3. Through this scheme, unknown to account holders, Weiss downloaded

personal, intimate digital photographs and videos.

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4. Weiss researched the targeted athletes on the internet. Months—and in some
cases years—after he gained access to certain accounts, he returned to those accounts
searching for additional photos and videos.

5. Weiss kept notes on individuals whose photographs and videos that he
viewed, including notes commenting on their bodies and their sexual preferences.

THE DEFENDANT’S ACCESS TO ACCOUNTS
BY WAY OF ATHLETE DATABASES

6. Weiss obtained access—without and in excess of authorization—to student
athlete databases of more than 100 colleges and universities across the country that
were maintained by Keffer Development Services, a third-party vendor. Weiss
obtained access to these databases through compromising the passwords of accounts
with elevated levels of access, such as the accounts of trainers and athletic directors.
7. After gaining access to these databases, Weiss downloaded the personally
identifiable information (PII) and medical data of more than 150,000 athletes.

8. Weiss also downloaded passwords that athletes used to access Keffer
Development Services’ system to view and update the athletes’ data. The athletes’
passwords that Weiss downloaded were encrypted. Weiss cracked the encryption
protecting the passwords, assisted by research that he did on the internet.

9. Through open-source research—and through information that appeared to be

leaked from data breaches—Weiss conducted additional research on targeted
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athletes to obtain personal information such as their mothers’ maiden names, pets,
places of birth, and nicknames.
10. Using the combined information that he obtained from the student athlete
databases and his internet research, Weiss was able to obtain access to the social
media, email, and/or cloud storage accounts of more than 2,000 targeted athletes by
guessing or resetting their passwords.
11. Once he obtained access to the accounts of targeted athletes, Weiss searched
for and downloaded personal, intimate photographs and videos that were not
publicly shared.

THE DEFENDANT’S ACCESS

BY WAY OF COMPROMISING
STUDENT/ALUMNI ACCOUNTS

12. Weiss also obtained access—without and in excess of authorization—to the
social media, email, and/or cloud storage accounts of more than 1,300 additional
students and/or alumni from universities and colleges from around the country.

13. Once Weiss gained access to these accounts, he would search for and
download personal, intimate photographs and videos.

14. In at least several instances, Weiss exploited vulnerabilities in universities’
account authentication processes to gain access to the accounts of students or alumni.
Weiss leveraged his access to these accounts to gain access to other social media,

email, and/or cloud storage accounts.

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COUNTS ONE THROUGH TEN

Unauthorized Access
18 U.S.C. § 1030(a)(2)(c) and (c)(2)(B)(ii)

15. Paragraphs 1 through 14 are incorporated by reference.

16. From in and around 2015, to in and around January 2023, in the Eastern
District of Michigan and elsewhere, Matthew Weiss intentionally accessed—
without and in excess of authorization—protected computers (as that term is defined
in Title 18, United States Code, Section 1030(e)(2)), including servers from
identified and unidentified social media, email, and/or cloud storage providers.
Weiss thereby obtained digital photographs, videos, and other private information
belonging to more than 3,300 individuals in furtherance of tortious acts, including

violations of the Michigan and Maryland state torts of Invasion of Privacy.

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17. The chart below sets forth individualized facts of Counts 1 through 10.

Count Date (in and Targeted Targeted Server
around) Individual
1 May 2021 to Jane Doe #1 Unknown
January 2023 Technology
Provider
2 July 2021 to Jane Doe #2 Technology
January 2023 Provider #1
3 October 2022 Jane Doe #3 Technology
Provider #2
4 December 2022 Jane Doe #4 University of
Michigan
5 December 2022 Jane Doe #5 Technology
Provider #3
6 July 2022 to Jane Doe #6 Unknown
January 2023 Techn ology
Provider
7 October 2022 Jane Doe #7 Technology
Provider #1
8 September 2021 Jane Doe #8 Technology
Provider #1
9 August 2021 to Jane Doe #9 Technology
January 2023 Provider #1
10 November 2022 Jane Doe #10 Technology
Provider #1

All in violation of 18 United States Code, Sections 1030(a)(2)(c) and

1030(c)(2)(B)(ii).

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COUNTS ELEVEN THROUGH TWENTY

Aggravated Identity Theft
18 U.S.C. § 1028A(a)(1)

18. Paragraphs 1 through 17 are hereby incorporated by reference.

19. From in and around May 2021, to in and around January 2023, in the Eastern
District of Michigan and elsewhere, Matthew Weiss, during and in relation to felony
violations of Title 18, United States Code, Sections 1030(a)(2)(c) and
1030(c)(2)(B)(ii), did knowingly transfer, possess and use, without lawful authority,
the means of identification of the other persons identified in the chart below, that
may be used—alone and in conjunction with other information—to identify the other
persons identified below, each such means of identification representing a separate

count herein.
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20. The chart below sets out individualized facts of Counts 11 through 20.

Count Date (in and Targeted Means of
around) Individual Identification
11 May 2021 Jane Doe #1 Login identifier
for Unknown
Technology
Provider
12 July 2021 to Jane Doe #2 Login identifier
January 2023 for Technology
Provider #1
13 October 2022 Jane Doe #3 Login identifier
for Technology
Provider #2
14 December 2022 Jane Doe #4 University unique
identifier
15 December 2022 Jane Doe #5 Login identifier
for Technology
Provider #3
16 July 2022 to Jane Doe #6 Login identifier
January 2023 for Unknown
Technology
Provider
17 October 2022 Jane Doe #7 Login identifier
for Technology
Provider #1
18 September 2021 Jane Doe #8 Login identifier
for Technology
Provider #1
19 August 2021 to Jane Doe #9 Login identifier
January 2023 for Technology
Provider #1
20 November 2022 Jane Doe #10 Login identifier
for Technology
Provider #1

All in violation of 18 United States Code, Section 1028A(a)(1).

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COUNT TWENTY-ONE

Unauthorized Access
18 U.S.C. § 1030(a)(2)(c) and (c)(2)(B)(ii)

21. Paragraphs 1 through 14 are hereby incorporated by reference.
22. From in and around January 2020, to in and around October of 2021, in the
Eastern District of Michigan and elsewhere, Matthew Weiss intentionally accessed
—without and in excess of authorization—protected computers (as that term is
defined in Title 18, United States Code, Section 1030(e)(2)), that is, virtual server
space rented by the company Keffer Development Services. After compromising the
passwords of approximately 150 accounts and gaining access to these same
accounts, Weiss downloaded personally identifiable information (PII) and medical
data of more than 150,000 athletes in furtherance of tortious acts, including
violations of the Maryland, Michigan, and Pennsylvania state torts of Invasion of
Privacy. The offense was committed in furtherance of additional violations of 18
U.S.C. §§ 1030(a)(2)(c) to wit, Matthew Weiss intended to and did obtain
information that furthered his ability to reset the passwords for and access—without
and in excess of authorization— social media, email, and/or cloud storage accounts
of individuals whose information he obtained from Keffer’s systems.

All in violation of 18 United States Code, Sections 1030(a)(2)(c) and

1030(c)(2)(B)(ii).

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COUNT TWENTY-TWO

Unauthorized Access
18 U.S.C. § 1030(a)(2)(c) and (c)(2)(B)(ii)

23. Paragraphs | through 14 are hereby incorporated by reference.
24. From in and around October 2022, to in and around January 2023, in the
Eastern District of Michigan and elsewhere, Matthew Weiss intentionally
accessed—without and in excess of authorization—protected computers (as that
term is defined in Title 18, United States Code, Section 1030(e)(2)), that is, servers
operated by Technology Provider #1, and obtained digital photographs, videos, and
other private information of the provider’s customers. Weiss accessed the accounts
belonging to more than forty of the provider’s customers in furtherance of tortious
acts, including violations of the Michigan state tort of Invasion of Privacy.

All in violation of 18 United States Code, Sections 1030(a)(2)(c) and

1030(c)(2)(B)(ii).
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COUNT TWENTY-THREE

Unauthorized Access
18 U.S.C. § 1030(a)(2)(c) and (c)(2)(B)(ii)

25. Paragraphs | through 14 are hereby incorporated by reference.
26. From in and around December 21, 2022, to in and around December 23, 2022,
in the Eastern District of Michigan and elsewhere, Matthew Weiss intentionally
accessed—without and in excess of authorization—protected computers (as that
term is defined in Title 18, United States Code, Section 1030(e)(2)), that is, servers
of the University of Michigan and its email provider. After resetting the passwords
of more than 40 email accounts of University of Michigan alumni, Weiss accessed
more than 25 of these accounts in furtherance of tortious acts, including violations
of the Michigan state tort of Invasion of Privacy. The offense committed in
furtherance of additional violations of 18 U.S.C. §§ 1030(a)(2)(c), to wit, Matthew
Weiss intended to and did obtain information that furthered his ability to access—
without and in excess of authorization—one or more social media, email, and/or
cloud storage accounts of one or more University of Michigan alumni.

All in violation of 18 United States Code, Sections 1030(a)(2)(c) and

1030(c)(2)(B)(ii).

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COUNT TWENTY-FOUR

Unauthorized Access
18 U.S.C. § 1030(a)(2)(c) and (c)(2)(B)(ii)

27. Paragraphs | through 14 are hereby incorporated by reference.
28. From in and around October 2022, to in and around January 2023, in the
Eastern District of Michigan and elsewhere, Matthew Weiss intentionally
accessed—without and in excess of authorization—protected computers (as that
term is defined in Title 18, United States Code, Section 1030(e)(2)), that is, servers
of Westmont College and its email provider. Weiss accessed the accounts of more
than five Westmont students or former students in furtherance of tortious acts,
including violations of the California and Michigan state torts of Invasion of Privacy.
The offense was committed in furtherance of additional violations of 18 U.S.C. §§
1030(a)(2)(c) and (a)(5)(A), to wit, Matthew Weiss intended to and did obtain
information that furthered his ability to access—without and in excess of
authorization— one or more social media, email, and/or cloud storage accounts of
one or more Westmont College students or former students.

All in violation of 18 United States Code, Sections 1030(a)(2)(c) and

1030(c)(2)(B)(ii).

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FORFEITURE ALLEGATIONS

Criminal Forfeiture
18 U.S.C. § 982(a)(2)(B) and 1030(i)

29. The allegations contained in Counts One through Twenty-Four of this
Indictment are incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i).

30. Upon conviction of one or more of the unauthorized access offenses in
violation of Title 18, United States Code, Section 1030(a)(2)(c) and (c)(2)(B)(ii), set
forth in this Indictment, defendant Matthew Weiss shall forfeit to the United States
of America:

a. pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and
1030(i), any property, real or personal, constituting, or derived from,
proceeds obtained directly or indirectly as a result of such offense; and

b. pursuant to Title 18, United States Code, Section 1030(i), any personal
property that was used or intended to be used to commit or to facilitate the
commission of such offense.

The property to be forfeited includes, but is not limited to, all electronic devices and
online accounts used or intended to be used to facilitate unauthorized access to
accounts belonging to other individuals.

31.  Ifany of the property described above, as a result of any act or omission of

the defendant:
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a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty,

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

18, United States Code, Sections 982(b) and 1030(i).

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All pursuant to Title 18, United States Code, Sections 982(a)(2)(B), 982(b),

1030(i), and Title 21, United States Code, Section 853.

THIS IS A TRUE BILL

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

JULIE A. BECK
Acting United States Attorney

s/ Mark Chasteen

MARK CHASTEEN

Chief, White Collar Crime Unit
Assistant United States Attorney

s/ Timothy J. Wyse
TIMOTHY J. WYSE
Assistant United States Attorney

Dated: March 20, 2025

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United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

' otlhs 2 tae. Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
L Yes No AUSA’s Initials: TSW

Case Title: USA v. Matthew Weiss

County where offense occurred : Washtenaw

Check One: Felony L]Misdemeanor LlPetty
V¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

March 20, 2025 s/ Timothy J. Wyse

Date Timothy J. Wyse
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone:(313) 226-9144

Fax: (313) 226-2873

E-Mail address: timothy. wyse@usdoj.gov

Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16

